                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JESSICA GUERRIERO, on behalf of                    )
herself and others similarly situated,             )   Case No. 4:21-cv-01917
                                                   )
               Representative Plaintiff,           )   Judge Benita Y. Pearson
                                                   )
       vs.                                         )   STIPULATION OF DISMISSAL
                                                   )   WITHOUT PREJUDICE
PENN NATIONAL GAMING, INC., et al.,                )
                                                   )
               Defendants.                         )
                                                   )

       Representative Plaintiff Jessica Guerriero and Defendants Central Ohio Gaming

Ventures, LLC, Dayton Real Estate Ventures, LLC, Penn National Gaming, Inc., Toledo Gaming

Ventures, LLC, Youngstown Real Estate Ventures, LLC, by and through their respective

counsel, jointly and mutually stipulate that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this entire

action and all claims in Plaintiff’s Complaint are hereby dismissed without prejudice, with each

party to bear their own costs, including court costs, expenses, and attorneys’ fees.
                                       Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2021, the foregoing was filed electronically

with the Court. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                                     /s/ Jeffrey J. Moyle
                                                     Jeffrey J. Moyle
                                                     Counsel for Representative Plaintiff




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